        10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 1 of 70
B1 (Official Form 1) (4/10)
                                                   UNITED STATES BANKRUPTCY COURT
                                                      WESTERN DISTRICT OF TEXAS                                                                                                        Voluntary Petition
                                                            WACO DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Smith, Troy Davis                                                                                                  Smith, Donna Lynn

All Other Names used by the Debtor in the last 8 years                                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                        (include married, maiden, and trade names):
                                                                                                                   fdba Koolbeans




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more                             Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):         xxx-xx-6732                                                                          than one, state all):         xxx-xx-4541
Street Address of Debtor (No. and Street, City, and State):                                                        Street Address of Joint Debtor (No. and Street, City, and State):
411 S. Taylor                                                                                                      411 S. Taylor
Hamilton, TX                                                                                                       Hamilton, TX
                                                                                      ZIP CODE                                                                                                        ZIP CODE
                                                                                        76531                                                                                                             76531
County of Residence or of the Principal Place of Business:                                                         County of Residence or of the Principal Place of Business:
Hamilton County Texas                                                                                              Hamilton County Texas
Mailing Address of Debtor (if different from street address):                                                      Mailing Address of Joint Debtor (if different from street address):




                                                                                      ZIP CODE                                                                                                        ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                      ZIP CODE


                Type of Debtor                                        Nature of Business                                            Chapter of Bankruptcy Code Under Which
                 (Form of Organization)                                      (Check one box.)
                    (Check one box.)
                                                                                                                                       the Petition is Filed(Check one box.)
                                                               ¨   Health Care Business
                                                                                                                    þ      Chapter 7

 þ      Individual (includes Joint Debtors)
        See Exhibit D on page 2 of this form.
                                                               ¨   Single Asset Real Estate as defined
                                                                   in 11 U.S.C. § 101(51B)                          ¨      Chapter 9
                                                                                                                                                                           ¨     Chapter 15 Petition for Recognition
                                                                                                                                                                                 of a Foreign Main Proceeding

                                                               ¨   Railroad                                         ¨      Chapter 11

 ¨      Corporation (includes LLC and LLP)
                                                               ¨   Stockbroker                                      ¨      Chapter 12
                                                                                                                                                                           ¨     Chapter 15 Petition for Recognition
                                                                                                                                                                                 of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                               ¨   Commodity Broker                                 ¨      Chapter 13


 ¨      Other (If debtor is not one of the above
        entities, check this box and state type                ¨   Clearing Bank                                                                              Nature of Debts
                                                                                                                                                              (Check one box.)
        of entity below.)
                                                               ¨   Other

                                                                                                                    þ      Debts are primarily consumer
                                                                                                                                                                           ¨        Debts are primarily
                                                                       Tax-Exempt Entity                                   debts, defined in 11 U.S.C.                              business debts.
                                                                           (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                                   Debtor is a tax-exempt organization                     individual primarily for a
                                                               ¨   under Title 26 of the United States
                                                                   Code (the Internal Revenue Code).
                                                                                                                           personal, family, or house-
                                                                                                                           hold purpose."

                                    Filing Fee(Check one box.)                                                      Check one box:                         Chapter 11 Debtors
 þ      Full Filing Fee attached.
                                                                                                                    ¨      Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).

                                                                                                                    ¨      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                                    Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                               ¨      Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                                           insiders or affiliates) are less than $2,343,300       (amount subject to adjustment
                                                                                                                           on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.                              Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition.
                                                                                                                    ¨      Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                                    ¨      of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                             THIS SPACE IS FOR
                                                                                                                                                                                                    COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
 þ    there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 ¨
 1-49         þ
              50-99          ¨
                             100-199           ¨
                                               200-999           ¨
                                                                 1,000-               ¨
                                                                                      5,001-             ¨
                                                                                                         10,001-              ¨
                                                                                                                              25,001-                 ¨
                                                                                                                                                      50,001-          ¨
                                                                                                                                                                       Over
                                                                 5,000                10,000             25,000               50,000                  100,000          100,000
 Estimated Assets

 ¨
 $0 to
              þ
            $50,001 to
                             ¨
                             $100,001 to
                                               ¨
                                               $500,001
                                                                 ¨
                                                                 $1,000,001
                                                                                      ¨
                                                                                      $10,000,001
                                                                                                         ¨
                                                                                                         $50,000,001
                                                                                                                              ¨
                                                                                                                              $100,000,001
                                                                                                                                                      ¨
                                                                                                                                                      $500,000,001
                                                                                                                                                                       ¨
                                                                                                                                                                       More than
 $50,000 $100,000            $500,000          to $1 million     to $10 million       to $50 million     to $100 million      to $500 million         to $1 billion    $1 billion
 Estimated Liabilities

 ¨
 $0 to        ¨
              $50,001 to     þ
                             $100,001 to       ¨
                                               $500,001          ¨
                                                                 $1,000,001           ¨
                                                                                      $10,000,001        ¨
                                                                                                         $50,000,001          ¨
                                                                                                                              $100,000,001            ¨
                                                                                                                                                      $500,000,001     ¨
                                                                                                                                                                       More than
 $50,000      $100,000       $500,000          to $1 million     to $10 million       to $50 million     to $100 million      to $500 million         to $1 billion    $1 billion

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B1 (Official Form 1) (4/10)                                                                                                                                                                                    Page 2
                                                                                                                                             Troy Davis Smith
 Voluntary Petition                                                                                         Name of Debtor(s):
                                                                                                                                             Donna Lynn Smith
 (This page must be completed and filed in every case.)
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                                       Case Number:                                                        Date Filed:


Location Where Filed:                                                                                       Case Number:                                                        Date Filed:



            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor:                                                                                             Case Number:                                                        Date Filed:


District:                                                                                                   Relationship:                                                       Judge:



                                                        Exhibit A                                                                                                     Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                                                    (To be completed if debtor is an individual

 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                                                        whose debts are primarily consumer debts.)

 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                          I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                             informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                             of title 11, United States Code, and have explained the relief available under each
                                                                                                             such chapter. I further certify that I have delivered to the debtor the notice
 ¨          Exhibit A is attached and made a part of this petition.
                                                                                                             required by 11 U.S.C. § 342(b).




                                                                                                            X    /s/ John A. Montez                                                                    09/16/2010
                                                                                                                John A. Montez                                                                             Date
                                                                                                       Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

            Yes, and Exhibit C is attached and made a part of this petition.
 ¨          No.
 þ
                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D completed and signed by the debtor is attached and made a part of this petition.
            þ
 If this is a joint petition:
             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
            þ
                                                                                        Information Regarding the Debtor - Venue
                                                                                                (Check any applicable box.)
            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
 þ          immediately


 ¨          There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this
 ¨          District, or has no
            principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state

                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                             (Check all applicable boxes.)
            Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
 ¨
                                                                                                         (Name of landlord that obtained judgment)




                                                                                                         (Address of landlord)
            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to
 ¨          cure the entire

            Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after
 ¨          the filing of the

            Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
 ¨
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B1 (Official Form 1) (4/10)                                                                                                                                                                       Page 3
                                                                                                                                        Troy Davis Smith
 Voluntary Petition                                                                                   Name of Debtor(s):
                                                                                                                                        Donna Lynn Smith
 (This page must be completed and filed in every case)
                                                                                                 Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                                Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is
                                                                                                      I declare under penalty of perjury that the information provided in this petition is true
 true and correct.
                                                                                                      and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has
                                                                                                      and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
 each such chapter, and choose to proceed under chapter 7.
                                                                                                      (Check only one box.)
 [If no attorney represents me and no bankruptcy petition preparer signs the                                I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                        ¨     Certified copies of the documents required by 11 U.S.C. § 1515 are attached.


 I request relief in accordance with the chapter of title 11, United States Code,                           Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                          ¨     title 11 specified in this petition. A certified copy of the order granting
                                                                                                            recognition of the foreign main proceeding is attached.



 X       /s/ Troy Davis Smith
         Troy Davis Smith
                                                                                                      X
         /s/ Donna Lynn Smith                                                                               (Signature of Foreign Representative)
 X       Donna Lynn Smith
                                                                                                            (Printed Name of Foreign Representative)
       Telephone Number (If not represented by attorney)
       09/16/2010
       Date                                                                                                 Date

                                           Signature of Attorney*                                             Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as

 X       /s/ John A. Montez                                                                           defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and

         John A. Montez                                                        Bar No.14285000        have provided the debtor with a copy of this document and the notices and
                                                                                                      information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                                      or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Montez & Williams, P.C.                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have
 3809 W. Waco Drive                                                                                   given the debtor notice of the maximum amount before preparing any document
 Waco, TX 76710                                                                                       for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                                      section. Official Form 19 is attached.



         (254) 759-8600
 Phone No.______________________ Fax(254) 759-8700
                                     No.______________________
                                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
       09/16/2010
       Date                                                                                           Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                      state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the
                                                                                                      partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 information in the schedules is incorrect.



                  Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.


 The debtor requests relief in accordance with the chapter of title 11, United States
                                                                                                      Address
 Code, specified in this petition.
                                                                                                      X
                                                                                                            Date
 X                                                                                                    Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                                      partner whose Social-Security number is provided above.
       Signature of Authorized Individual
                                                                                                      Names and Social-Security numbers of all other individuals who prepared or
                                                                                                      assisted in preparing this document unless the bankruptcy petition preparer is not
       Printed Name of Authorized Individual                                                          an individual.




       Title of Authorized Individual                                                                 If more than one person prepared this document, attach additional sheets
                                                                                                      conforming to the appropriate official form for each person.


                                                                                                      A bankruptcy petition preparer's failure to comply with the provisions of title 11
       Date                                                                                           and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                      imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED                   STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                  WACO DIVISION
In re:      Troy Davis Smith                                                                                      Case No.
            Donna Lynn Smith                                                                                                               (if known)

                          Debtor(s)

                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                    CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.



     1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
þ
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services

provided to me.         Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

     2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
¨
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services

provided to me.         You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.



     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
¨
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.                            [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED                 STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                WACO DIVISION
In re:     Troy Davis Smith                                                                                      Case No.
           Donna Lynn Smith                                                                                                            (if known)

                        Debtor(s)

                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
                                                                       Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:                            [Check the applicable statement.] [Must be
¨
accompanied by a motion for determination by the court.]

                Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
           ¨    be incapable of realizing and making rational decisions with respect to financial responsibilites.);



                Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
           ¨    effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);



                Active military duty in a military combat zone.
           ¨
    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
¨
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.




Signature of Debtor:       /s/ Troy Davis Smith
                          Troy Davis Smith

Date:         09/16/2010
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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED                   STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                  WACO DIVISION
In re:      Troy Davis Smith                                                                                      Case No.
            Donna Lynn Smith                                                                                                               (if known)

                          Debtor(s)

                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                    CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.



     1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
þ
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services

provided to me.         Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

     2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
¨
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services

provided to me.         You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.



     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
¨
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.                            [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED                 STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                WACO DIVISION
In re:     Troy Davis Smith                                                                                      Case No.
           Donna Lynn Smith                                                                                                            (if known)

                        Debtor(s)

                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
                                                                       Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:                            [Check the applicable statement.] [Must be
¨
accompanied by a motion for determination by the court.]

                Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
           ¨    be incapable of realizing and making rational decisions with respect to financial responsibilites.);



                Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
           ¨    effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);



                Active military duty in a military combat zone.
           ¨
    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
¨
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.




Signature of Debtor:       /s/ Donna Lynn Smith
                          Donna Lynn Smith

Date:         09/16/2010
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B6A (Official Form 6A) (12/07)



In re   Troy Davis Smith                                                        Case No.
        Donna Lynn Smith                                                                                          (if known)



                                         SCHEDULE A - REAL PROPERTY




                                                                                      Husband, Wife, Joint,
                                                                                                               Current Value




                                                                                       or Community
                                                                                                                 of Debtor's
                       Description and                   Nature of Debtor's
                                                                                                                 Interest in
                           Location of                   Interest in Property
                            Property
                                                                                                              Property, Without    Amount Of
                                                                                                               Deducting Any      Secured Claim
                                                                                                               Secured Claim
                                                                                                                or Exemption


 411 South Taylor, Hamilton TX                     GWD                                   C                         $64,471.00         $55,304.84




                                                                                   Total:         $64,471.00
                                                                                   (Report also on Summary of Schedules)
        10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 9 of 70
B6B (Official Form 6B) (12/07)



In re   Troy Davis Smith                                                                  Case No.
        Donna Lynn Smith                                                                               (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of




                                                                                                               or Community
                                                                                                                                     Debtor's Interest
                                                                                                                                        in Property,

                                          None
                                                                                                                                     Without Deducting
              Type of Property                                  Description and Location of Property                                   any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


1. Cash on hand.                          X

2. Checking, savings or other finan-             Extraco Bank, Hamilton TX #3463                                  C                            $50.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Educators Bank, Hamilton TX #3668                                C                          $120.00
thrift, building and loan, and home-
stead associations, or credit unions,            Extraco Bank, Hamilton TX #9781                                  C                              $9.00
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              microwave                                                        C                            $60.00
including audio, video and computer
equipment.                                       queen bed                                                        C                          $150.00

                                                 dresser                                                          C                            $25.00

                                                 television                                                       C                            $20.00

                                                 VCR                                                              C                            $10.00

                                                 dresser                                                          C                            $25.00

                                                 office desk and chair                                            C                            $40.00

                                                 washer and dryer                                                 C                          $250.00

                                                 laptop computer                                                  C                          $250.00

                                                 end table                                                        C                            $10.00

                                                 refrigerator                                                     C                          $250.00

                                                 gas stove                                                        C                          $125.00

                                                 microwav e                                                       C                            $50.00
        10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 10 of
                                                70
B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                                      Case No.
        Donna Lynn Smith                                                                                   (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 Husband, Wife, Joint,
                                                               Continuation Sheet No. 1

                                                                                                                                         Current Value of




                                                                                                                   or Community
                                                                                                                                         Debtor's Interest
                                                                                                                                            in Property,

                                           None
                                                                                                                                         Without Deducting
              Type of Property                                      Description and Location of Property                                   any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption




                                                  storage hutch                                                       C                            $50.00

                                                  island table                                                        C                            $25.00

                                                  kitchen talbe and chairs                                            C                          $200.00

                                                  couch                                                               C                            $40.00

                                                  recliner                                                            C                            $50.00

                                                  two chairs                                                          C                            $20.00

                                                  television                                                          C                          $175.00

                                                  entertainment center                                                C                            $50.00

                                                  two end tables                                                      C                            $30.00

                                                  coffee table                                                        C                            $30.00

                                                  DVD Player                                                          C                            $40.00

                                                  qujeen bed                                                          C                            $50.00

                                                  twin bed                                                            C                            $15.00

                                                  two dressers                                                        C                            $30.00

                                                  7 lamps                                                             C                            $70.00

                                                  mini fridge                                                         C                            $75.00

                                                  kitchen table and chairs                                            C                            $50.00

                                                  bedside table                                                       C                            $10.00

                                                  filing cabinet                                                      C                            $25.00
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B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                                     Case No.
        Donna Lynn Smith                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                Husband, Wife, Joint,
                                                              Continuation Sheet No. 2

                                                                                                                                        Current Value of




                                                                                                                  or Community
                                                                                                                                        Debtor's Interest
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
              Type of Property                                     Description and Location of Property                                   any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption




                                                  cedar chest                                                        C                            $50.00

                                                  love seat                                                          C                            $30.00

                                                  small freezer                                                      C                          $200.00

                                                  small fridge                                                       C                          $200.00


5. Books; pictures and other art                  books , pictures                                                   C                            $50.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               men's clothes                                                      C                          $250.00

                                                  women's clothes                                                    C                          $250.00


7. Furs and jewelry.                              two wedding bands and engagement ring                              C                          $700.00

                                                  two gold necklace                                                  C                          $100.00


8. Firearms and sports, photo-                    one 22 revolver                                                    C                            $50.00
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.
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                                                70
B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                                 Case No.
        Donna Lynn Smith                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                            Husband, Wife, Joint,
                                                          Continuation Sheet No. 3

                                                                                                                                    Current Value of




                                                                                                              or Community
                                                                                                                                    Debtor's Interest
                                                                                                                                       in Property,

                                           None
                                                                                                                                    Without Deducting
              Type of Property                                 Description and Location of Property                                   any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption




11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-               Koolbeans                                                      C                              $0.00
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
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                                                70
B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                                  Case No.
        Donna Lynn Smith                                                                               (if known)



                                           SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                           Continuation Sheet No. 4

                                                                                                                                     Current Value of




                                                                                                               or Community
                                                                                                                                     Debtor's Interest
                                                                                                                                        in Property,

                                            None
                                                                                                                                     Without Deducting
              Type of Property                                  Description and Location of Property                                   any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption




19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2005 Dodge truck                                               C                        $7,000.00
and other vehicles and accessories.
                                                   2005 Dodge PT cruiser                                          C                        $7,250.00
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                                                70
B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                                     Case No.
        Donna Lynn Smith                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                Husband, Wife, Joint,
                                                             Continuation Sheet No. 5

                                                                                                                                        Current Value of




                                                                                                                  or Community
                                                                                                                                        Debtor's Interest
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
              Type of Property                                     Description and Location of Property                                   any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption




26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,               Hobart mixer                                                       C                          $900.00
and supplies used in business.
                                                  electric range/oven                                                C                          $250.00

                                                  blender                                                            C                          $400.00

                                                  panini grill                                                       C                          $350.00

                                                  auto expresso                                                      C                          $350.00

                                                  single grinder                                                     C                          $350.00

                                                  table and chairs                                                   C                          $200.00


30. Inventory.                             X

31. Animals.                                      one dog                                                            C                              $5.00

                                                  two cats                                                           C                            $10.00


32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
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B6B (Official Form 6B) (12/07) -- Cont.



In re   Troy Davis Smith                                                             Case No.
        Donna Lynn Smith                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                Husband, Wife, Joint,
                                                     Continuation Sheet No. 6

                                                                                                                                        Current Value of




                                                                                                                  or Community
                                                                                                                                        Debtor's Interest
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
              Type of Property                             Description and Location of Property                                           any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption




35. Other personal property of any         X
kind not already listed. Itemize.




                                                                    6      continuation sheets attached   Total >                           $21,424.00
  (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (4/10)


In re   Troy Davis Smith                                                                 Case No.
        Donna Lynn Smith                                                                                       (If known)



                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under: ¨ Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                   $146,450.*
 þ 11 U.S.C. § 522(b)(2)
 ¨ 11 U.S.C. § 522(b)(3)



                                                                                                                                Current
                                                                                                                            Value of Property
                                                            Specify Law Providing Each              Value of Claimed
                                                                                                                            Without Deducting
                Description of Property                             Exemption                         Exemption
                                                                                                                               Exemption




 411 South Taylor, Hamilton TX                      11 U.S.C. § 522(d)(1)                                  $9,166.16              $64,471.00

 Extraco Bank, Hamilton TX #3463                    11 U.S.C. § 522(d)(5)                                     $50.00                   $50.00

 Educators Bank, Hamilton TX #3668                  11 U.S.C. § 522(d)(5)                                    $120.00                 $120.00

 Extraco Bank, Hamilton TX #9781                    11 U.S.C. § 522(d)(5)                                       $9.00                     $9.00

 microwave                                          11 U.S.C. § 522(d)(3)                                     $60.00                   $60.00

 queen bed                                          11 U.S.C. § 522(d)(3)                                    $150.00                 $150.00

 dresser                                            11 U.S.C. § 522(d)(3)                                     $25.00                   $25.00

 television                                         11 U.S.C. § 522(d)(3)                                     $20.00                   $20.00

 VCR                                                11 U.S.C. § 522(d)(3)                                     $10.00                   $10.00

 dresser                                            11 U.S.C. § 522(d)(3)                                     $25.00                   $25.00

 office desk and chair                              11 U.S.C. § 522(d)(3)                                     $40.00                   $40.00

 washer and dryer                                   11 U.S.C. § 522(d)(3)                                    $250.00                 $250.00

 laptop computer                                    11 U.S.C. § 522(d)(3)                                    $250.00                 $250.00

 end table                                          11 U.S.C. § 522(d)(3)                                     $10.00                   $10.00

 refrigerator                                       11 U.S.C. § 522(d)(3)                                    $250.00                 $250.00



* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases          $10,435.16               $65,740.00
commenced on or after the date of adjustment.
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In re   Troy Davis Smith                                                         Case No.
        Donna Lynn Smith                                                                               (If known)



                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                               Continuation Sheet No. 1


                                                                                                                         Current
                                                                                                                    Value of Property
                                                    Specify Law Providing Each              Value of Claimed        Without Deducting
                Description of Property                     Exemption                          Exemption               Exemption




 gas stove                                   11 U.S.C. § 522(d)(3)                                   $125.00                 $125.00

 microwav e                                  11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 storage hutch                               11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 island table                                11 U.S.C. § 522(d)(3)                                     $25.00                  $25.00

 kitchen talbe and chairs                    11 U.S.C. § 522(d)(3)                                   $200.00                 $200.00

 couch                                       11 U.S.C. § 522(d)(3)                                     $40.00                  $40.00

 recliner                                    11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 two chairs                                  11 U.S.C. § 522(d)(3)                                     $20.00                  $20.00

 television                                  11 U.S.C. § 522(d)(3)                                   $175.00                 $175.00

 entertainment center                        11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 two end tables                              11 U.S.C. § 522(d)(3)                                     $30.00                  $30.00

 coffee table                                11 U.S.C. § 522(d)(3)                                     $30.00                  $30.00

 DVD Player                                  11 U.S.C. § 522(d)(3)                                     $40.00                  $40.00

 qujeen bed                                  11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 twin bed                                    11 U.S.C. § 522(d)(3)                                     $15.00                  $15.00

 two dressers                                11 U.S.C. § 522(d)(3)                                     $30.00                  $30.00

 7 lamps                                     11 U.S.C. § 522(d)(3)                                     $70.00                  $70.00

 mini fridge                                 11 U.S.C. § 522(d)(3)                                     $75.00                  $75.00

 kitchen table and chairs                    11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00



                                                                                                  $11,610.16              $66,915.00
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B6C (Official Form 6C) (4/10) -- Cont.


In re   Troy Davis Smith                                                         Case No.
        Donna Lynn Smith                                                                               (If known)



                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                               Continuation Sheet No. 2


                                                                                                                         Current
                                                                                                                    Value of Property
                                                    Specify Law Providing Each              Value of Claimed        Without Deducting
                Description of Property                     Exemption                          Exemption               Exemption




 bedside table                               11 U.S.C. § 522(d)(3)                                     $10.00                  $10.00

 filing cabinet                              11 U.S.C. § 522(d)(3)                                     $25.00                  $25.00

 cedar chest                                 11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 love seat                                   11 U.S.C. § 522(d)(3)                                     $30.00                  $30.00

 small freezer                               11 U.S.C. § 522(d)(3)                                   $200.00                 $200.00

 small fridge                                11 U.S.C. § 522(d)(3)                                   $200.00                 $200.00

 books , pictures                            11 U.S.C. § 522(d)(3)                                     $50.00                  $50.00

 men's clothes                               11 U.S.C. § 522(d)(3)                                   $250.00                 $250.00

 women's clothes                             11 U.S.C. § 522(d)(3)                                   $250.00                 $250.00

 two wedding bands and engagement ring       11 U.S.C. § 522(d)(4)                                   $700.00                 $700.00

 two gold necklace                           11 U.S.C. § 522(d)(4)                                   $100.00                 $100.00

 one 22 revolver                             11 U.S.C. § 522(d)(5)                                     $50.00                  $50.00

 Koolbeans                                   11 U.S.C. § 522(d)(5)                                      $0.00                      $0.00

 2005 Dodge truck                            11 U.S.C. § 522(d)(2)                                      $0.00              $7,000.00

 2005 Dodge PT cruiser                       11 U.S.C. § 522(d)(2)                                      $0.00              $7,250.00

 Hobart mixer                                11 U.S.C. § 522(d)(6)                                   $900.00                 $900.00

 electric range/oven                         11 U.S.C. § 522(d)(6)                                   $250.00                 $250.00

 blender                                     11 U.S.C. § 522(d)(6)                                   $400.00                 $400.00

 panini grill                                11 U.S.C. § 522(d)(6)                                   $350.00                 $350.00



                                                                                                  $15,425.16              $84,980.00
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B6C (Official Form 6C) (4/10) -- Cont.


In re   Troy Davis Smith                                                        Case No.
        Donna Lynn Smith                                                                              (If known)



                                  SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                              Continuation Sheet No. 3


                                                                                                                        Current
                                                                                                                   Value of Property
                                                   Specify Law Providing Each              Value of Claimed        Without Deducting
               Description of Property                     Exemption                          Exemption               Exemption




 auto expresso                              11 U.S.C. § 522(d)(6)                                   $350.00                 $350.00

 single grinder                             11 U.S.C. § 522(d)(6)                                   $350.00                 $350.00

 table and chairs                           11 U.S.C. § 522(d)(6)                                   $200.00                 $200.00

 one dog                                    11 U.S.C. § 522(d)(3)                                      $5.00                      $5.00

 two cats                                   11 U.S.C. § 522(d)(3)                                     $10.00                  $10.00




                                                                                                 $16,340.16              $85,895.00
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B6D (Official Form 6D) (12/07)
          In re Troy Davis Smith                                                                                          Case No.
                Donna Lynn Smith                                                                                                                         (if known)



                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                           HUSBAND, WIFE, JOINT,
                            ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                                                   UNLIQUIDATED
                                                             OR COMMUNITY




                                                                                                                                   CONTINGENT
            CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                 AMOUNT OF           UNSECURED




                                                CODEBTOR




                                                                                                                                    DISPUTED
              MAILING ADDRESS                                                                    INCURRED, NATURE                                        CLAIM          PORTION, IF
           INCLUDING ZIP CODE AND                                                                     OF LIEN, AND                                     WITHOUT               ANY
            AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
            (See Instructions Above.)                                                                  VALUE OF                                        VALUE OF
                                                                                                 PROPERTY SUBJECT                                   COLLATERAL
                                                                                                        TO LIEN

                                                                                   DATE INCURRED:
ACCT #:                                                                            NATURE OF LIEN:
                                                                                   Purchase Money
Bank of America                                                                    COLLATERAL:
                                                                                                                                                       $55,304.84
BAC Home Loans Servicing LP                                                        House
                                                             C                     REMARKS:
P.O.Box 650070
Dallas, TX 75265-0070


                                                                                   VALUE:                             $64,471.00
                                                                                   DATE INCURRED:
ACCT #:                                                                            NATURE OF LIEN:
                                                                                   Purchase Money
Chrysler Financial                                                                 COLLATERAL:
                                                                                                                                                         $7,959.60              $959.60
P.O.Box 9001921                                                                    truck
                                                             C                     REMARKS:
Louisville, KY 40290-1921



                                                                                   VALUE:                              $7,000.00
                                                                                   DATE INCURRED:
ACCT #:                                                                            NATURE OF LIEN:
                                                                                   Purchase Money
Rebecca McNair                                                                     COLLATERAL:
                                                                                                                                                       $87,174.01         $87,174.01
6130 W. Tropicana Ave, Suite 197                                                   business
                                                             C                     REMARKS:
Las Vegas, NV 89103



                                                                                   VALUE:                                 $0.00
                                                                                   DATE INCURRED:
ACCT #: xxxxxxxxxxxxx9001                                                          NATURE OF LIEN:
                                                                                   Purchase Money
Wells Fargo                                                                        COLLATERAL:
                                                                                                                                                         $8,360.00          $1,110.00
P.O. Box 29704                                                                     2005  Dodge PT cruiser
                                                             C                     REMARKS:
Phoenix, AZ 85038



                                                                                   VALUE:                            $7,250.00
                                                                                                       Subtotal (Total of this Page) >                 $158,798.45        $89,243.61
                                                                                                       Total (Use only on last page) >                 $158,798.45        $89,243.61
________________continuation
      No                     sheets attached                                                                                                      (Report also        (If applicable,
                                                                                                                                                  on                  report also on
                                                                                                                                                  Summary of          Statistical
                                                                                                                                                  Schedules.)         Summary of
                                                                                                                                                                      Certain
                                                                                                                                                                      Liabilities
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B6E (Official Form 6E) (04/10)
In re     Troy Davis Smith                                                                                            Case No.
          Donna Lynn Smith                                                                                                                    (If Known)



                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS                                  (Check the appropriate box(es) below if claims in that category are listed on the attached sheet
        Domestic Support Obligations
¨       Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent,
        legal guardian,
        or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to


        Extensions of credit in an involuntary case
¨       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
        before the earlier of

        Wages, salaries, and commissions
¨       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
        owing to
        qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the


        Contributions to employee benefit plans
¨       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
        petition, or the


        Certain farmers and fishermen
¨       Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. §


        Deposits by individuals
¨       Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or
        household use,


        Taxes and Certain Other Debts Owed to Governmental Units
¨       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)


        Commitments to Maintain the Capital of an Insured Depository Institution
¨       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or
        Board of Governors
        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository


        Claims for Death or Personal Injury While Debtor Was Intoxicated
¨       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated
        from using


        Administrative allowances under 11 U.S.C. Sec. 330
¨       Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional
        person employed


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of

________________continuation
      No                     sheets attached
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B6F (Official Form 6F) (12/07)
  In re Troy Davis Smith                                                                                                Case No.
          Donna Lynn Smith                                                                                                                (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                               HUSBAND, WIFE, JOINT,
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                                                  UNLIQUIDATED
                                                                 OR COMMUNITY




                                                                                                                                                  CONTINGENT
                 CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                        AMOUNT OF




                                                    CODEBTOR




                                                                                                                                                   DISPUTED
                  MAILING ADDRESS                                                                          INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                              CLAIM.
                (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Advantage Asset II, Inc.                                                               Collection agency                                                                   $0.00
11675 Rainwater Dr. St 350                                                             REMARKS:
                                                                C
Alpharetta, GA 30009



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Asset Acceptance LLC                                                                   open account                                                                        $0.00
P.O. Box 1630                                                                          REMARKS:
Warren, MI 48090-1630                                           C



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Associated Recovery Systems                                                            Collection agent                                                                    $0.00
P.O. box 469046                                                                        REMARKS:
                                                                C
Escondido, CA 92046



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Associated Recovery Systems                                                            Collection agent                                                                    $0.00
P.O. Box 469046                                                                        REMARKS:
Escondido, CA 92046                                             C



ACCT #:                                                                                DATE INCURRED:
                                                                                       CONSIDERATION:
Associated Recovery Systems                                                            Collection agent                                                                    $0.00
P.O. Box 469046                                                                        REMARKS:
                                                                C
Escondido, CA 92046



ACCT #: xxxxxxxxxxxxxx6101                                                             DATE INCURRED:
                                                                                       CONSIDERATION:
Bealls                                                                                 open account                                                                   $888.00
2411 S. Highway 36                                                                     REMARKS:
Gatesville, TX                                                  C



                                                                                                                                           Subtotal >                 $888.00
                                                                                                                                                   Total >
                                                                                                    (Use only on last page of the completed Schedule F.)
________________continuation
       8                     sheets attached                                             (Report also on Summary of Schedules and, if applicable, on the
                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
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                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Central Texas Urology                                                           medical services                                                             $2,595.00
601 W. Hwy 6                                                                    REMARKS:
                                                         C
Ste 105
Waco, TX 76712

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Credit Systems International                                                    Collection agent                                                                    $0.00
P.O. Box 1088                                                                   REMARKS:
Arlington, TX 76004                                      C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Crouch & White                                                                  Attorney for McNair                                                                 $0.00
James Crouch                                                                    REMARKS:
                                                         C
P.O. Box 831
Hamilton, TX 76531

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Dell Financial Services                                                         Credit Card                                                                  $2,562.00
P.O. Box 6403                                                                   REMARKS:
Carol Stream, IL 60197                                   C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Diversified Credit System                                                       Collection agent                                                                    $0.00
P.O.Box 3424                                                                    REMARKS:
                                                         C
Longview, TX 75606



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Family Practice Associates                                                      medical services                                                               $375.00
Box 633                                                                         REMARKS:
Hamilton, TX 76531                                       C



            1
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >               $5,532.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 24 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Financial Control Services                                                      Collecttion agent - Hillcrest Hospital                                              $0.00
6801 Sanger Ave.                                                                REMARKS:
                                                         C
Waco, TX 76710



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Financial Control Services                                                      Collecttion agent- Waco Cardiology                                                  $0.00
6801 Sanger Ave.                                                                REMARKS:
Waco, TX 76710                                           C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Financial Corporation of America                                                Collecting for - Scott & White Hospital                                             $0.00
P.O. Box 203500                                                                 REMARKS:
                                                         C
Austin, TX 78720



ACCT #: xxxx7034                                                                DATE INCURRED:
                                                                                CONSIDERATION:
GE Capital                                                                      business debt                                                                $1,669.00
P.O. Box 536447                                                                 REMARKS:
Atlanta, GA 30353-6447                                   C



ACCT #: xxxxxxxxxxxx0332                                                        DATE INCURRED:
                                                                                CONSIDERATION:
Hamilton Healthcare System                                                      health care bill                                                               $500.00
Hospital Receivables Service                                                    REMARKS:
                                                         C
P.O. Box 816165
Dallas TX 75381

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Hamilton Healthcare System                                                      Additional notice                                                                   $0.00
400 N. Brown                                                                    REMARKS:
Hamilton, TX 7651                                        C



            2
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >               $2,169.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 25 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Hamilton Healthcare System Hospital                                             medical services                                                             $5,200.00
Receivables Service                                                             REMARKS:
                                                         C
P.O. Box 816165
Dallas, TX 75381

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Hamilton Healthcare System Hospital                                             medical services                                                            $15,000.00
Receivables Service                                                             REMARKS:
P.O. Box 816165                                          C
Dallas, TX 75381

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Hillcrest Medical Center                                                        medical services                                                            $14,292.81
P.O. Box 20397                                                                  REMARKS:
                                                         C
Waco, TX 76702



ACCT #: xxxxxxxxxxxx0696                                                        DATE INCURRED:
                                                                                CONSIDERATION:
Home Depot Credit Services                                                      Credit Card                                                                  $4,470.00
P.O.Box 65300                                                                   REMARKS:
Dallas, TX 75265-3000                                    C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Javataz                                                                         open account                                                                   $415.00
P.O. Box 753                                                                    REMARKS:
                                                         C
Grandview, TX 76050



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Leading Edge Recovery Solutions                                                 Collection                                                                   $2,809.00
P.O. Box 129                                                                    REMARKS:
Linden, MI 45451-0129                                    C



            3
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >              $42,186.81
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 26 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
LNVN Funding                                                                    Collection agent                                                             $1,875.00
P.O. Box 10584                                                                  REMARKS:
                                                         C
Greenvilee, SC 29603



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
LTD Financial Services                                                          Collection agent                                                                    $0.00
7322 Southwest Freeway Suite 1600                                               REMARKS:
Houston, TX 77074                                        C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
LTD Financial Services                                                          Collection agent                                                             $4,470.00
7322 Southwest Freeway Suite 1600                                               REMARKS:
                                                         C
Houston, TX 77074



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
McCarthy Burgess & Wolff                                                        Advertisment                                                                    $65.55
THE MB & W Building                                                             REMARKS:
26000 Cannon Road                                        C
Cleveland, OHG 44146

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
McCarthy Burgess & Wolff                                                        Advertisment                                                                        $0.00
THE MB & W Building                                                             REMARKS:
                                                         C
26000 Cannon Road
Cleveland, OHG 44146

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Michael Scott                                                                   open account                                                                $20,063.00
P.O. Box 113297                                                                 REMARKS:
Carrollton, TX 75011                                     C



            4
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >              $26,473.55
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 27 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Michael Scott                                                                   Collection agent                                                                    $0.00
P.O. Box 113297                                                                 REMARKS:
                                                         C
Carrollton, TX 75011



ACCT #: xxx5322                                                                 DATE INCURRED:
                                                                                CONSIDERATION:
National Credit Management                                                      loan                                                                         $6,607.72
P.O. box 32900                                                                  REMARKS:
St. Louis, MO 63132                                      C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
NTL Recovery Agency                                                             Collecion agent                                                                     $0.00
2491 Paxton St.                                                                 REMARKS:
                                                         C
Harrisburg, PA 17111



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Patsy & William Wagner                                                          investor                                                                     $3,875.00
801 Crews                                                                       REMARKS:
Hamilton, TX 76531                                       C



ACCT #: xxxxxxxxxxxx0830                                                        DATE INCURRED:
                                                                                CONSIDERATION:
Paypal                                                                          unsecured loan                                                                 $350.00
P.O.Box 981400                                                                  REMARKS:
                                                         C
El Paso, TX 79998



ACCT #: xxxx2004                                                                DATE INCURRED:
                                                                                CONSIDERATION:
Providence Healthcare Network                                                   Medical care                                                                 $3,634.00
6901 Medical Parkway                                                            REMARKS:
Waco, TX 76712                                           C



            5
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >              $14,466.72
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 28 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Schumann Heat and Air                                                           Service                                                                        $625.00
1650 CR 274                                                                     REMARKS:
                                                         C
Gatesville, TX 76528



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Scott & White                                                                   medical bills                                                                   $98.00
P.O. Box 847500                                                                 REMARKS:
Dallas, TX 75284-7500                                    C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Scott & White                                                                   medical bills                                                                  $665.00
P.O. Box 847500                                                                 REMARKS:
                                                         C
Dallas, TX 75284-7500



ACCT #: xxxx3277                                                                DATE INCURRED:
                                                                                CONSIDERATION:
Southwest Sports Medicine                                                       open account                                                                    $70.00
7030 New Sanger Road #200                                                       REMARKS:
Waco, TX 76712-4074                                      C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Tarleton State University                                                       SBA loan                                                                     $6,607.00
SBA Loan                                                                        REMARKS:
                                                         C
Box T-0001
Stephenville, TX 76401

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Tate & Kirlin Associates                                                        Collection agent                                                                    $0.00
2810 Southampton Rd                                                             REMARKS:
Philadelphia, PA 19154                                   C



            6
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >               $8,065.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 29 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                         Case No.
          Donna Lynn Smith                                                                                                         (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                           CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                        AMOUNT OF




                                             CODEBTOR




                                                                                                                                            DISPUTED
                  MAILING ADDRESS                                                                   INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                       CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Texhoma Financial Services                                                      Collection agent                                                                    $0.00
P.O. Box 4508                                                                   REMARKS:
                                                         C
Wichita Falls, TX 76308



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Tony Belding                                                                    Purchase Money                                                              $12,670.00
P.O. Box 512                                                                    REMARKS:
Hamilton, TX 76531                                       C



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
U. S. Attorney                                                                  SBA Loan - notice                                                                   $0.00
Main Justice Bldg, Room 511                                                     REMARKS:
                                                         C
10th & Constitutional NW
Washington, DC 20530

ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
U.S. Attorney General                                                           SBA - Notice                                                                 Unknown
601 NW Loop 410 Suite 600                                                       REMARKS:
San Antonio, TX 78216                                    C                                                                                 X X X



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Valentine & Kebatas                                                             Collecting for - Dell financial                                                     $0.00
P.O. Box 325                                                                    REMARKS:
                                                         C
Lawrence, MA 01842



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Waco Cardiology Associates                                                      medical services                                                             $8,364.00
7125 New Sanger Rd. Ste A                                                       REMARKS:
Waco, TX 76712-4054                                      C



            7
Sheet no. __________   of 8__________ continuation sheets attached to                                                               Subtotal >              $21,034.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                            Total >
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
      10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 30 of
                                              70
B6F (Official Form 6F) (12/07) - Cont.
  In re Troy Davis Smith                                                                                          Case No.
          Donna Lynn Smith                                                                                                           (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                                             UNLIQUIDATED
                                                          OR COMMUNITY




                                                                                                                                             CONTINGENT
                 CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                          AMOUNT OF




                                             CODEBTOR




                                                                                                                                              DISPUTED
                  MAILING ADDRESS                                                                    INCURRED AND                                             CLAIM
                INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                        CLAIM.
                (See instructions above.)                                                        IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.



ACCT #:                                                                         DATE INCURRED:
                                                                                CONSIDERATION:
Wells Fargo                                                                     Notice                                                                                $0.00
P.O. Box 29704                                                                  REMARKS:
                                                         C
Phoeniz, Az 85038




            8
Sheet no. __________   of 8__________ continuation sheets attached to                                                                 Subtotal >                      $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              Total >        $120,815.08
                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                                         Statistical Summary of Certain Liabilities and Related Data.)
        10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 31 of
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B6G (Official Form 6G) (12/07)
    In re   Troy Davis Smith                                                                                         Case No.
            Donna Lynn Smith                                                                                                               (if known)



                           SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                                                 INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
                    NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
                      OF OTHER PARTIES TO LEASE OR CONTRACT.                                     CONTRACT.




    AT & T Mobility                                                                              cell phone
    P.O. Box 650553                                                                              Contract to be ASSUMED
    Dallas, TX 75265
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                                                70
B6H (Official Form 6H) (12/07)
In re   Troy Davis Smith                                                                                          Case No.
        Donna Lynn Smith                                                                                                                   (if known)



                                                                SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse
who resides or


þ Check this box if debtor has no codebtors.
                           NAME AND ADDRESS OF CODEBTOR                                                                 NAME AND ADDRESS OF CREDITOR
         10-61149-cag Doc#1 Filed 09/16/10 Entered 09/16/10 15:04:59 Main Document Pg 33 of
                                                 70
B6I (Official Form 6I) (12/07)
In re Troy Davis Smith                                                                                          Case No.
         Donna Lynn Smith                                                                                                               (if known)



                               SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint
petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly

 Debtor's Marital Status:                                                       Dependents of Debtor and Spouse
                                  Relationship(s): Daughter                 Age(s): 18          Relationship(s):                                     Age(s):
             Married




  Employment:                       Debtor                                                                 Spouse
  Occupation                                                                                              unemloyed
  Name of Employer                Industrial Age Contractors Inc.
  How Long Employed
  Address of Employer             P.O. Box 668
                                  Hamilton, TX 76531

INCOME: (Estimate of average or projected monthly income at time case filed)                                                         DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                                       $3,437.50                    $0.00
2. Estimate monthly overtime                                                                                                            $0.00                    $0.00
3. SUBTOTAL                                                                                                                         $3,437.50                    $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                                     $193.87                     $0.00
   b. Social Security Tax                                                                                                            $207.39                     $0.00
   c. Medicare                                                                                                                        $48.49                     $0.00
   d. Insurance                                                                                                                       $92.30                     $0.00
   e. Union dues                                                                                                                       $0.00                     $0.00
   f. Retirement                                                                                                                       $0.00                     $0.00
   g. Other (Specify)                                                                                                                  $0.00                     $0.00
   h. Other (Specify)                                                                                                                  $0.00                     $0.00
   i. Other (Specify)                                                                                                                  $0.00                     $0.00
   j. Other (Specify)                                                                                                                  $0.00                     $0.00
   k. Other (Specify)                                                                                                                  $0.00                     $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                                    $542.05                     $0.00
6.     TOTAL NET MONTHLY TAKE HOME PAY                                                                                              $2,895.45                    $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                                              $0.00                    $0.00
8.  Income from real property                                                                                                           $0.00                    $0.00
9.  Interest and dividends                                                                                                              $0.00                    $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                                              $0.00                    $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                                        $0.00                    $0.00
12. Pension or retirement income                                                                                                        $0.00                    $0.00
13. Other monthly income (Specify):
    a.                                                                                                                                  $0.00                    $0.00
    b.                                                                                                                                  $0.00                    $0.00
    c.                                                                                                                                  $0.00                    $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                                      $0.00                    $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                                    $2,895.45                    $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                                     $2,895.45
                                                                        (Report also on Summary of Schedules and, if applicable,
                                                                        on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
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                                                70
B6J (Official Form 6J) (12/07)
  IN RE: Troy Davis Smith                                                                                      Case No.
               Donna Lynn Smith                                                                                                        (if known)



                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on

     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
¨    expenditures



 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                $646.00
     a. Are real estate taxes included?
                                                     þ    ¨
                                                         Yes          No
     b. Is property insurance included?
                                                     þYes
                                                          ¨No
 2. Utilities: a. Electricity and heating fuel                                                                                                        $250.00
               b. Water and sewer                                                                                                                      $93.00
               c. Telephone                                                                                                                            $80.00
               d. Other: cell phone                                                                                                                   $240.00
 3. Home maintenance (repairs and upkeep)                                                                                                              $50.00
 4. Food                                                                                                                                              $400.00
 5. Clothing                                                                                                                                           $25.00
 6. Laundry and dry cleaning                                                                                                                           $45.00
 7. Medical and dental expenses                                                                                                                        $50.00
 8. Transportation (not including car payments)                                                                                                       $400.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                   $25.00
 10. Charitable contributions                                                                                                                          $20.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's                                                                                                                   $0.00
           b. Life
           c. Health
           d. Auto                                                                                                                                    $288.58
           e. Other: car payment                                                                                                                      $360.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
               a. Auto: truck payment                                                                                                                 $340.00
               b. Other:
               c. Other:
               d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                          $225.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                                    $3,537.58
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                               $2,895.45
 b. Average monthly expenses from Line 18 above                                                                                                     $3,537.58
 c. Monthly net income (a. minus b.)                                                                                                                ($642.13)
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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION
IN RE:     Troy Davis Smith                               CASE NO
           Donna Lynn Smith

                                                          CHAPTER   7

                                  EXHIBIT TO SCHEDULE J




                                  Itemized Personal Expenses

Expense                                                                           Amount

work lunches                                                                       $75.00
personal grooming                                                                  $75.00
pet food and care                                                                  $75.00

                                                                        Total >   $225.00
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B6 Summary (Official Form 6 - Summary) (12/07)
                                                         UNITED STATES BANKRUPTCY COURT
                                                            WESTERN DISTRICT OF TEXAS
                                                                  WACO DIVISION
   In re   Troy Davis Smith                                                                                       Case No.
           Donna Lynn Smith

                                                                                                                  Chapter           7



                                                                 SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.




                                                      ATTACHED NO. OF
 NAME OF SCHEDULE                                                                               ASSETS                        LIABILITIES             OTHER
                                                       (YES/NO) SHEETS

 A - Real Property                                         Yes             1                           $64,471.00


 B - Personal Property                                     Yes             7                           $21,424.00


 C - Property Claimed                                      Yes             4
     as Exempt
 D - Creditors Holding                                     Yes             1                                                            $158,798.45
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                                       Yes             1                                                                  $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                           Yes             9                                                            $120,815.08
     Nonpriority Claims
 G - Executory Contracts and                               Yes             1
    Unexpired Leases

 H - Codebtors                                             Yes             1


 I - Current Income of                                     Yes             1                                                                           $2,895.45
     Individual Debtor(s)
 J - Current Expenditures of                               Yes             2                                                                           $3,537.58
    Individual Debtor(s)

                                                       TOTAL               28                           $85,895.00                      $279,613.53
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                                                70
Form 6 - Statistical Summary (12/07)
                                                         UNITED STATES BANKRUPTCY COURT
                                                            WESTERN DISTRICT OF TEXAS
                                                                  WACO DIVISION
   In re   Troy Davis Smith                                                                                   Case No.
           Donna Lynn Smith

                                                                                                              Chapter           7



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
¨    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                                           Amount
 Domestic Support Obligations (from Schedule E)                                                            $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                                           $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                                           $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)


 Student Loan Obligations (from Schedule F)                                                                $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                                           $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                                           $0.00
 Obligations (from Schedule F)


                                                                              TOTAL                        $0.00

State the following:
 Average Income (from Schedule I, Line 16)                                                              $2,895.45

 Average Expenses (from Schedule J, Line 18)                                                            $3,537.58

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                                         $3,134.17

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                                         $89,243.61

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                                                   $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                                            $0.00

 4. Total from Schedule F                                                                                                      $120,815.08

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                  $210,058.69
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Troy Davis Smith                                                                                         Case No.
       Donna Lynn Smith                                                                                                    (if known)



                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                              30
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 09/16/2010                                                               Signature      /s/ Troy Davis Smith
                                                                                            Troy Davis Smith

Date 09/16/2010                                                               Signature     /s/ Donna Lynn Smith
                                                                                           Donna Lynn Smith
                                                                              [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (04/10)                         UNITED STATES BANKRUPTCY COURT
                                                          WESTERN DISTRICT OF TEXAS
                                                                WACO DIVISION
   In re:    Troy Davis Smith                                                                                    Case No.
             Donna Lynn Smith                                                                                                                (if known)



                                                       STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
¨      debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year
       to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A
       debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income.
         AMOUNT                         SOURCE
         $40,416.00                     2008 - Debtors earnings

         $44,214.00                     2009 - Debtors earnings

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's
¨      business during the
       two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
       each spouse

         AMOUNT                         SOURCE
         $565.00                        2009 - capital gains

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
þ      services, and other
       debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of
       all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a
       creditor on account


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
¨      immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
       transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a
       domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
       agency.

                                                                                  DATES OF                   AMOUNT PAID
                                                                                  PAYMENTS/                  OR VALUE OF
         NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                  TRANSFERS                    AMOUNT STILL OWING
         Tony Belding                                                             August 2010                $4,000.00
         Hamilton TX

         Patsy Waggner                                                            July 2010                  $2,000.00
         Hamilton TX

         Sherry Parker                                                            July 2010                  $370.00
         Hamilton, TX
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B7 (Official Form 7) (04/10) - Cont.                  UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                 WACO DIVISION
   In re:     Troy Davis Smith                                                                                    Case No.
              Donna Lynn Smith                                                                                                                (if known)



                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                           Continuation Sheet No. 1


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
þ      of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the
¨      filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both

         CAPTION OF SUIT AND                                                      COURT OR AGENCY                                           STATUS OR
         CASE NUMBER                                          NATURE OF PROCEEDINGAND LOCATION                                              DISPOSITION
         CACH LLC vs. Troy Smith                              suit on account     District Court of                                         pending
         Cause No. HCCV-09-13309                                                  Hamilton County Texas,
                                                                                  220th Judical District
                                                                                  Court

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
þ      immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
þ      foreclosure or returned
       to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must



       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
þ      commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a


None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
þ      preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property



       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
þ      ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
       aggregating less than $100




       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case
þ      or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
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B7 (Official Form 7) (04/10) - Cont.                   UNITED STATES BANKRUPTCY COURT
                                                            WESTERN DISTRICT OF TEXAS
                                                                  WACO DIVISION
   In re:    Troy Davis Smith                                                                                        Case No.
             Donna Lynn Smith                                                                                                                   (if known)



                                                         STATEMENT OF FINANCIAL AFFAIRS
                                                                            Continuation Sheet No. 2


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
¨      concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the

                                                                                  DATE OF PAYMENT,
                                                                                  NAME OF PAYER IF                       AMOUNT OF MONEY OR DESCRIPTION
         NAME AND ADDRESS OF PAYEE                                                OTHER THAN DEBTOR                      AND VALUE OF PROPERTY
         Montez & Williams, PC
         Waco TX

         Springboard                                                              August 2010                            $110

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
¨      transferred
       either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12

         NAME AND ADDRESS OF TRANSFEREE,                                                                       DESCRIBE PROPERTY TRANSFERRED
         RELATIONSHIP TO DEBTOR                                                   DATE                         AND VALUE RECEIVED
         Leigh Ann Jackson                                                        August 2010                  freezer, refrigerator, table, cash
         Hamilton TX                                                                                           register, grinder, vent hood, park
                                                                                                               bench, mixer, convection oven, mop
                                                                                                               sink, brewer, steel cart, sopu pot,
                                                                                                               $7300

       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-
None
       settled trust or
þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold,
þ      or otherwise
       transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial
       accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
       cooperatives, associations,


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one
þ      year immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
þ      commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
þ
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B7 (Official Form 7) (04/10) - Cont.                    UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   WACO DIVISION
   In re:    Troy Davis Smith                                                                                      Case No.
             Donna Lynn Smith                                                                                                                  (if known)



                                                          STATEMENT OF FINANCIAL AFFAIRS
                                                                            Continuation Sheet No. 3


       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
þ      debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
þ      Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the


       17. Environmental Information
       For the purpose of this question, the following definitions apply:


       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
       statutes or
       regulations regulating the cleanup of these substances, wastes, or material.


       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
       or operated
       by the debtor, including, but not limited to, disposal sites.



None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be

þ      liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if



None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous

þ      Material.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to
       which the debtor is
þ
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B7 (Official Form 7) (04/10) - Cont.                    UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   WACO DIVISION
   In re:    Troy Davis Smith                                                                                        Case No.
             Donna Lynn Smith                                                                                                                   (if known)



                                                          STATEMENT OF FINANCIAL AFFAIRS
                                                                              Continuation Sheet No. 4


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
¨      beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
       partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately
       preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years
       immediately
       preceding the commencement of this case.


       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
       beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                                            BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                                   NATURE OF BUSINESS                                   DATES
        Koolbeans                                                                 coffee shop
        Hamilton TX

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. §
þ
       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who
       is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing
       executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a
       sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.




       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
þ      supervised the



None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the
þ      books of account



None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
þ      records of the



None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial
þ      statement was issued by



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each
þ      inventory, and the
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B7 (Official Form 7) (04/10) - Cont.                    UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   WACO DIVISION
   In re:    Troy Davis Smith                                                                                          Case No.
             Donna Lynn Smith                                                                                                                   (if known)



                                                          STATEMENT OF FINANCIAL AFFAIRS
                                                                              Continuation Sheet No. 5


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ
None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly
 þ     owns, controls, or



       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
 þ     commencement



None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
 þ     immediately



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
 þ     compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the



       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated
 þ     group for tax
       purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the



       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor,
 þ     as an employer,




[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 09/16/2010                                                                    Signature              /s/ Troy Davis Smith
                                                                                   of Debtor              Troy Davis Smith

Date 09/16/2010                                                                    Signature       /s/ Donna Lynn Smith
                                                                                   of Joint Debtor Donna Lynn Smith
                                                                                   (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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  B 8 (Official Form 8) (12/08)

                                                    UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             WACO DIVISION
  IN RE:      Troy Davis Smith                                                              CASE NO
              Donna Lynn Smith

                                                                                            CHAPTER     7

                          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate Attach additional pages if necessary.)


 Property No. 1
 Creditor's Name:                                                                 Describe Property Securing Debt:
 Bank of America                                                                  House
 BAC Home Loans Servicing LP
 P.O.Box 650070
 Dallas, TX 75265-0070




 Property will be (check one):
    ¨   Surrendered
                                   þ     Retained
 If retaining the property, I intend to (check at least one):
    ¨     Redeem the property
    ¨     Reaffirm the debt
    þ     Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):
          Debtor will continue making payments to creditor without reaffirming.




 Property is (check one):
    ¨   Claimed as exempt
                                       þ     Not claimed as exempt


 Property No. 2

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Chrysler Financial                                                               truck
 P.O.Box 9001921
 Louisville, KY 40290-1921




 Property will be (check one):
    ¨   Surrendered
                                   þ     Retained
 If retaining the property, I intend to (check at least one):
    ¨     Redeem the property
    þ     Reaffirm the debt
    ¨     Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
    ¨   Claimed as exempt
                                       þ     Not claimed as exempt
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                                              70
  B 8 (Official Form 8) (12/08)

                                               UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF TEXAS
                                                        WACO DIVISION
  IN RE:       Troy Davis Smith                                                          CASE NO
               Donna Lynn Smith

                                                                                         CHAPTER    7

                         CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                           Continuation Sheet No. 1

 Property No. 3
 Creditor's Name:                                                           Describe Property Securing Debt:
 Rebecca McNair                                                             business
 6130 W. Tropicana Ave, Suite 197
 Las Vegas, NV 89103




 Property will be (check one):
    þ   Surrendered
                                    ¨   Retained

 If retaining the property, I intend to (check at least one):
    ¨     Redeem the property
    ¨     Reaffirm the debt
    ¨     Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
    ¨   Claimed as exempt
                                    þ     Not claimed as exempt


 Property No. 4
 Creditor's Name:                                                           Describe Property Securing Debt:
 Wells Fargo                                                                2005 Dodge PT cruiser
 P.O. Box 29704
 Phoenix, AZ 85038
 xxxxxxxxxxxxx9001




 Property will be (check one):
    ¨   Surrendered
                                    þ   Retained
 If retaining the property, I intend to (check at least one):
    ¨     Redeem the property
    þ     Reaffirm the debt
    ¨     Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
    ¨   Claimed as exempt
                                    þ     Not claimed as exempt

PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)
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                                               70
   B 8 (Official Form 8) (12/08)

                                                   UNITED STATES BANKRUPTCY COURT
                                                      WESTERN DISTRICT OF TEXAS
                                                            WACO DIVISION
   IN RE:     Troy Davis Smith                                                                        CASE NO
              Donna Lynn Smith

                                                                                                      CHAPTER          7

                         CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                  Continuation Sheet No. 2

 Property No.       1
 Lessor's Name:                                                   Describe Leased Property:                                Lease will be Assumed pursuant to
 AT & T Mobility                                                  cell phone                                               11 U.S.C. § 365(p)(2):
 P.O. Box 650553
 Dallas, TX 75265                                                                                                          YES
                                                                                                                                  þ         NO
                                                                                                                                                 ¨



I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.




Date 09/16/2010                                                           Signature    /s/ Troy Davis Smith
                                                                                      Troy Davis Smith



Date 09/16/2010                                                           Signature    /s/ Donna Lynn Smith
                                                                                      Donna Lynn Smith
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B 201B (Form 201B) (12/09)                          UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             WACO DIVISION
In re   Troy Davis Smith                                                                                         Case No.
        Donna Lynn Smith
                                                                                                                 Chapter            7



                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Troy Davis Smith                                                                       X    /s/ Troy Davis Smith                          09/16/2010
Donna Lynn Smith                                                                           Signature of Debtor                            Date
Printed Name(s) of Debtor(s)
                                                                                       X    /s/ Donna Lynn Smith                          09/16/2010
Case No. (if known)                                                                        Signature of Joint Debtor (if any)             Date

                                Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,                John A. Montez                                   , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ John A. Montez
John A. Montez, Attorney for Debtor(s)
Bar No.: 14285000
Montez & Williams, P.C.
3809 W. Waco Drive
Waco, TX 76710
Phone: (254) 759-8600
Fax: (254) 759-8700
E-Mail: johna.montez@yahoo.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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B 201A (Form 201A) (12/09)
WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.



                                                      UNITED STATES BANKRUPTCY COURT

                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.


You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.


Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides

assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.


In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:          Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.


Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.


The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.


Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                               Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.


Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.


3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.


WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.



Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
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                                                     UNITED STATES BANKRUPTCY COURT
                                                        WESTERN DISTRICT OF TEXAS
                                                              WACO DIVISION
IN RE:       Troy Davis Smith                                                                                     CASE NO
             Donna Lynn Smith

                                                                                                                 CHAPTER                7

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
     is as follows:


     For legal services, I have agreed to accept:                                                                                $3,300.00
     Prior to the filing of this statement I have received:                                                                      $1,750.00
     Balance Due:                                                                                                                $1,550.00

2. The source of the compensation paid to me was:
                      Debtor                             Other (specify)
               þ                                   ¨
3. The source of compensation to be paid to me is:
                      Debtor                             Other (specify)
               þ                                   ¨
4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     þ     associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     ¨     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.



5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;
     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;



6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.



                           09/16/2010                                     /s/ John A. Montez
                              Date                                        John A. Montez                                                    Bar No. 14285000
                                                                          Montez & Williams, P.C.
                                                                          3809 W. Waco Drive
                                                                          Waco, TX 76710
                                                                          Phone: (254) 759-8600 / Fax: (254) 759-8700




      /s/ Troy Davis Smith                                                                   /s/ Donna Lynn Smith
     Troy Davis Smith                                                                       Donna Lynn Smith
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               WACO DIVISION
  IN RE:   Troy Davis Smith                                                      CASE NO
           Donna Lynn Smith

                                                                                CHAPTER     7

                                    VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 09/16/2010                                         Signature    /s/ Troy Davis Smith
                                                                    Troy Davis Smith



Date 09/16/2010                                         Signature    /s/ Donna Lynn Smith
                                                                    Donna Lynn Smith
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                          Advantage Asset II, Inc.
                          11675 Rainwater Dr. St 350
                          Alpharetta, GA 30009



                          Asset Acceptance LLC
                          P.O. Box 1630
                          Warren, MI 48090-1630



                          Associated Recovery Systems
                          P.O. box 469046
                          Escondido, CA 92046



                          AT & T Mobility
                          P.O. Box 650553
                          Dallas, TX 75265



                          Bank of America
                          BAC Home Loans Servicing LP
                          P.O.Box 650070
                          Dallas, TX 75265-0070

                          Bealls
                          2411 S. Highway 36
                          Gatesville, TX



                          Central Texas Urology
                          601 W. Hwy 6
                          Ste 105
                          Waco, TX    76712

                          Chrysler Financial
                          P.O.Box 9001921
                          Louisville, KY 40290-1921



                          Credit Systems International
                          P.O. Box 1088
                          Arlington, TX 76004
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                          Crouch & White
                          James Crouch
                          P.O. Box 831
                          Hamilton, TX 76531

                          Dell Financial Services
                          P.O. Box 6403
                          Carol Stream, IL 60197



                          Diversified Credit System
                          P.O.Box 3424
                          Longview, TX 75606



                          Family Practice Associates
                          Box 633
                          Hamilton, TX 76531



                          Financial Control Services
                          6801 Sanger Ave.
                          Waco, TX 76710



                          Financial Corporation of America
                          P.O. Box 203500
                          Austin, TX 78720



                          GE Capital
                          P.O. Box 536447
                          Atlanta, GA 30353-6447



                          Hamilton Healthcare System
                          Hospital Receivables Service
                          P.O. Box 816165
                          Dallas TX 75381

                          Hamilton Healthcare System
                          400 N. Brown
                          Hamilton, TX 7651
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                          Hamilton Healthcare System Hospital
                          Receivables Service
                          P.O. Box 816165
                          Dallas, TX 75381

                          Hillcrest Medical Center
                          P.O. Box 20397
                          Waco, TX 76702



                          Home Depot Credit Services
                          P.O.Box 65300
                          Dallas, TX 75265-3000



                          Javataz
                          P.O. Box 753
                          Grandview, TX   76050



                          Leading Edge Recovery Solutions
                          P.O. Box 129
                          Linden, MI 45451-0129



                          LNVN Funding
                          P.O. Box 10584
                          Greenvilee, SC 29603



                          LTD Financial Services
                          7322 Southwest Freeway Suite 1600
                          Houston, TX 77074



                          McCarthy Burgess & Wolff
                          THE MB & W Building
                          26000 Cannon Road
                          Cleveland, OHG 44146

                          Michael Scott
                          P.O. Box 113297
                          Carrollton, TX 75011
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                          National Credit Management
                          P.O. box 32900
                          St. Louis, MO 63132



                          NTL Recovery Agency
                          2491 Paxton St.
                          Harrisburg, PA 17111



                          Patsy & William Wagner
                          801 Crews
                          Hamilton, TX 76531



                          Paypal
                          P.O.Box 981400
                          El Paso, TX 79998



                          Providence Healthcare Network
                          6901 Medical Parkway
                          Waco, TX 76712



                          Rebecca McNair
                          6130 W. Tropicana Ave, Suite 197
                          Las Vegas, NV 89103



                          Schumann Heat and Air
                          1650 CR 274
                          Gatesville, TX 76528



                          Scott & White
                          P.O. Box 847500
                          Dallas, TX 75284-7500



                          Southwest Sports Medicine
                          7030 New Sanger Road #200
                          Waco, TX 76712-4074
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                          Tarleton State University
                          SBA Loan
                          Box T-0001
                          Stephenville, TX 76401

                          Tate & Kirlin Associates
                          2810 Southampton Rd
                          Philadelphia, PA 19154



                          Texhoma Financial Services
                          P.O. Box 4508
                          Wichita Falls, TX 76308



                          Tony Belding
                          P.O. Box 512
                          Hamilton, TX   76531



                          U. S. Attorney
                          Main Justice Bldg, Room 511
                          10th & Constitutional NW
                          Washington, DC 20530

                          U.S. Attorney General
                          601 NW Loop 410 Suite 600
                          San Antonio, TX 78216



                          Valentine & Kebatas
                          P.O. Box 325
                          Lawrence, MA 01842



                          Waco Cardiology Associates
                          7125 New Sanger Rd. Ste A
                          Waco, TX 76712-4054



                          Wells Fargo
                          P.O. Box 29704
                          Phoeniz, Az 85038
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                          Wells Fargo
                          P.O. Box 29704
                          Phoenix, AZ 85038
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                                           70
B22A (Official Form 22A) (Chapter 7) (04/10)                                           According to the information required to be entered on this statement
In re:   Troy Davis Smith
                                                                                       (check one box as directed in Part I, III, or VI of this statement):
         Donna Lynn Smith
                                                                                                 The presumption arises.
                                                                                               ¨ The presumption does not arise.
Case Number:                                                                                   þ The presumption is temporarily inapplicable.
                                                                                               ¨
         CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly.
Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each
joint filer must complete a separate statement.

                                              Part I. MILITARY AND NON-CONSUMER DEBTORS
          Disabled Veterans.           If you are a disabled veteran described in the Declaration in this Part 1A, (1) check the box at the
          beginning of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3)
          complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1A             Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          ¨
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).


          Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
          in Part VIII. Do not complete any of the remaining parts of this statement.
 1B

               Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
          ¨
          Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of
          the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1))
          after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in
          32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active
          duty or homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary
          exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of Reservists and
          National Guard Members below, (2) check the box for "The presumption is temporarily inapplicable" at the top of this
          statement, and (3) complete the verification in Part VIII.                 During your exclusion period you are not required to complete the
          balance of this form, but you must complete the form no later than 14 days after the date on which your exclusion
          period ends, unless the time for filing a motion raising the means test presumption expires in your case before your
          exclusion period ends.



               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
 1C       ¨
          below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
          component of the Armed Forces or the National Guard


                 a.    I was called to active duty after September 11, 2001, for a period of at least 90 days and
                      ¨          I remain on active duty /or/
                               ¨ I was released from active duty on                    , which is less than 540 days before this bankruptcy
                               ¨
                 case was filed;
                               OR
                 b.         I am performing homeland defense activity for a period of at least 90 days /or/
                      ¨     I performed homeland defense activity for a period of at least 90 days, terminating on                                 , which
                      ¨     is less than 540 days before this bankruptcy case was filed.




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B22A (Official Form 22A) (Chapter 7) (04/10)

                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.
            ¨ Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
            ¨    penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                 are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                 Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.        Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
            ¨    Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.        Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
            þ    Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                                                      Column A     Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                                                      Debtor's     Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                                                       Income       Income
       appropriate line.


 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                                                      $3,134.17        $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. If you operate
       more than one business, profession or farm, enter aggregate numbers and provide
 4
       details on an attachment. Do not enter a number less than zero. Do not include any part
       of the business expenses entered on Line b as a deduction in Part V.
         a.    Gross receipts                                                               $0.00           $5,142.00
         b.    Ordinary and necessary business expenses                                     $0.00           $5,328.13
         c.    Business income                                                  Subtract Line b from Line a                                $0.00        $0.00

       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
         a. Gross receipts                                               $0.00            $0.00
         b.    Ordinary and necessary operating expenses                                    $0.00                 $0.00
         c.    Rent and other real property income                              Subtract Line b from Line a                                $0.00        $0.00
 6     Interest, dividends, and royalties.                                                                                                 $0.00        $0.00
 7     Pension and retirement income.                                                                                                      $0.00        $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 8
       that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by your spouse if Column B is completed.                                                                                       $0.00        $0.00
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:


         Unemployment compensation claimed to be a                                       Debtor              Spouse
         benefit under the Social Security Act                                           $0.00                $0.00                        $0.00        $0.00




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B22A (Official Form 22A) (Chapter 7) (04/10)
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance
       payments paid by your spouse if Column B is completed, but include all other
       payments of alimony or separate maintenance. Do not include any benefits received
 10    under the Social Security Act or payments received as a victim of a war crime, crime
       against humanity, or as a victim of international or domestic terrorism.


         a.

         b.
       Total and enter on Line 10                                                                                                    $0.00            $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11                                                                                                                               $3,134.17           $0.00
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                                                $3,134.17

                                             Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                                     $37,610.04
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14    court.)

       a. Enter debtor's state of residence:                          Texas                   b. Enter debtor's household size:       3          $59,011.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
              The amount on Line 13 is less than or equal to the amount on Line 14.Check the box for "The presumption does not
 15
       þ      arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
              The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
       ¨
                              Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
       payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
       debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
 17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.


         a.
         b.
        c.
       Total and enter on line 17.
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.
                                       Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
 19A   National Standards for Food, Clothing and Other Items for the applicable household size. (This
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)




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B22A (Official Form 22A) (Chapter 7) (04/10)
      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
       Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
       for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
       your household who are under 65 years of age, and enter in Line b2 the number of members of your
       household who are 65 years of age or older. (The total number of household members must be the
       same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for
       household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total
 19B
       amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to
       obtain a total health care amount, and enter the result in Line 19B.


        Household members under 65 years of age                                   Household members 65 years of age or older

        a1.     Allowance per member                                              a2.     Allowance per member

        b1.     Number of members                                                 b2.     Number of members
        c1.     Subtotal                                                          c2.     Subtotal

       Local Standards: housing and utilities; non-mortgage expenses.Enter the amount of the IRS Housing
 20A   and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)


       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the

 20B   total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
       Line b from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

        a.    IRS Housing and Utilities Standards; mortgage/rental expense
        b.    Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 42

        c.    Net mortgage/rental expense                                                                      Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 21
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.

 22A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.       0       1      2 or more.
       If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                        ¨         ¨      ¨
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                                                              $478.00
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)




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B22A (Official Form 22A) (Chapter 7) (04/10)
      Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
       you are entitled to an additional deduction for your public transportation expenses, enter on Line 22B the
 22B   "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)         1       2 or more.
                                                                                       ¨         ¨
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
 23    Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Transportation Standards, Ownership Costs
         b.    Average Monthly Payment for any debts secured by Vehicle 1, as
               stated in Line 42

         c.    Net ownership/lease expense for Vehicle 1                                                        Subtract Line b from Line a.

       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Transportation Standards, Ownership Costs
         b.    Average Monthly Payment for any debts secured by Vehicle 2, as
               stated in Line 42

         c.    Net ownership/lease expense for Vehicle 2                                                        Subtract Line b from Line a.
       Other Necessary Expenses: taxes.                    Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 25    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.

       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues,
 26    and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY 401(K)
       CONTRIBUTIONS.

       Other Necessary Expenses: life insurance.                        Enter total average monthly premiums that you actually pay
 27    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.

       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 44.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of

 29    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.

       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.

       Other Necessary Expenses: health care.                      Enter the total average monthly amount that you actually expend
 31    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 19B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 34.




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B22A (Official Form 22A) (Chapter 7) (04/10)
      Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
         you actually pay for telecommunication services other than your basic home telephone and cell phone
         service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
 32
         necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
         PREVIOUSLY DEDUCTED.

 33      Total Expenses Allowed under IRS Standards.Enter the total of Lines 19 through 32.

                                               Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
         expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
         spouse, or your dependents.
           a.    Health Insurance
 34        b.    Disability Insurance
           c.    Health Savings Account
         Total and enter on Line 34
         IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
         expenditures in the space below:


         Continued contributions to the care of household or family members. Enter the total average actual
         monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35      elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.

         Protection against family violence. Enter the total average reasonably necessary monthly expenses that
         you actually incurred to maintain the safety of your family under the Family Violence Prevention and
 36      Services Act or other applicable federal law. The nature of these expenses is required to be kept
         confidential by the court.

         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
         Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 37      PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
         MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.


         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
         CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
         WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
         FOR IN THE IRS STANDARDS.

         Additional food and clothing expense. Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
         IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
 39      at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
         ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.


         Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 40      cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).
 41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.




* Amount(s) are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.

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B22A (Official Form 22A) (Chapter 7) (04/10)
                                                        Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
       page. Enter the total of the Average Monthly Payments on Line 42.

 42                       Name of Creditor                     Property Securing the Debt                      Average          Does payment
                                                                                                               Monthly          include taxes
                                                                                                               Payment          or insurance?
         a.
                                                                                                                                ¨yes ¨no
         b.
                                                                                                                                ¨yes ¨no
         c.
                                                                                                                                ¨yes ¨no
                                                                                                          Total: Add
                                                                                                          Lines a, b and c.

       Other payments on secured claims.                     If any of the debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
 43
                           Name of Creditor                          Property Securing the Debt                    1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                                                  Total: Add Lines a, b and c
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 28.
       Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
       expense.


         a.    Projected average monthly chapter 13 plan payment.
 45      b.    Current multiplier for your district as determined under schedules
               issued by the Executive Office for United States Trustees. (This
               information is available at www.usdoj.gov/ust/ or from the clerk of
               the bankruptcy court.)
                                                                                                                                                %

         c.    Average monthly administrative expense of chapter 13 case                                          Total: Multiply Lines a and b
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

                                                       Subpart D: Total Deductions from Income
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.

                                        Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))
 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))
 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.
       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51
       enter the result.



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B22A (Official Form 22A) (Chapter 7) (04/10)
      Initial presumption determination. Check the applicable box and proceed as directed.
                The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of
         ¨      this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                The amount set forth on Line 51 is more than $11,725*. Check the box for "The presumption arises" at the top of page 1
 52      ¨      of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
                remainder of Part VI.
                The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53
         ¨      through 55).
 53      Enter the amount of your total non-priority unsecured debt

 54      Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.
         Secondary presumption determination. Check the applicable box and proceed as directed.

                The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55      ¨      top of page 1 of this statement, and complete the verification in Part VIII.

         ¨      The amount on Line 51 is equal to or greater than the amount on Line 54.Check the box for "The presumption arises"
                at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                      Part VII: ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
         and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
         under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
         monthly expense for each item. Total the expenses.



 56                                                        Expense Description                                                            Monthly Amount

           a.
           b.
           c.
                                                                                          Total: Add Lines a, b, and c

                                                                     Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.
         (If this is a joint case, both debtors must sign.)



 57                   Date: 09/16/2010                                      Signature:        /s/ Troy Davis Smith
                                                                                              Troy Davis Smith

                      Date: 09/16/2010                                      Signature:        /s/ Donna Lynn Smith
                                                                                              Donna Lynn Smith




* Amount(s) are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.

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                           Current Monthly Income Calculation Details
In re:   Troy Davis Smith                                            Case Number:
         Donna Lynn Smith                                            Chapter:     7

3.       Gross wages, salary, tips, bonuses, overtime commissions.

 Debtor or Spouse's Income             Description (if available)
                                             6             5             4             3         2          Last        Avg.
                                          Months         Months        Months      Months      Months      Month        Per
                                           Ago            Ago           Ago           Ago       Ago                    Month

Debtor                                 Industrial Contractors Inc.
                                          $2,893.08    $3,616.35   $2,893.08       $2,893.08   $3,616.35   $2,893.08   $3,134.17

4.       Income from the operation of a business, profession or farm.

 Debtor or Spouse's Income             Description (if available)
                                             6             5             4             3         2          Last        Avg.
                                          Months         Months        Months      Months      Months      Month        Per
                                           Ago            Ago           Ago           Ago       Ago                    Month

Spouse                                 Koolbeans
Gross receipts                           $5,142.00       $5,142.00     $5,142.00   $5,142.00   $5,142.00   $5,142.00   $5,142.00
Ordinary/necessary business expenses     $5,328.13       $5,328.13     $5,328.13   $5,328.13   $5,328.13   $5,328.13   $5,328.13
Business income                          ($186.13)       ($186.13)     ($186.13)   ($186.13)   ($186.13)   ($186.13)   ($186.13)




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                                   Underlying Allowances
In re:   Troy Davis Smith                                              Case Number:
         Donna Lynn Smith                                              Chapter:     7


                                                     Median Income Information
 State of Residence                                                Texas
 Household Size                                                    3
 Median Income per Census Bureau Data                              $59,011.00




                National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                            US
 Family Size                                                       3
 Gross Monthly Income                                              $3,134.17
 Income Level                                                      Not Applicable
 Food                                                              $626.00
 Housekeeping Supplies                                             $61.00
 Apparel and Services                                              $209.00
 Personal Care Products and Services                               $59.00
 Miscellaneous                                                     $197.00
 Additional Allowance for Family Size Greater Than 4               $0.00
 Total                                                             $1,152.00

                            National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                              $60.00
 Number of members                                                 0
 Subtotal                                                          $0.00
 Household members 65 years of age or older
 Allowance per member                                              $144.00
 Number of members                                                 0
 Subtotal                                                          $0.00
 Total                                                             $0.00

                                                Local Standards: Housing and Utilities
 State Name                                                        Texas
 County or City Name                                               Hamilton County
 Family Size                                                       Family of 3
 Non-Mortgage Expenses                                             $529.00
 Mortgage/Rent Expense Allowance                                   $401.00
 Minus Average Monthly Payment for Debts Secured by Home           $0.00
 Equals Net Mortgage/Rental Expense                                $401.00
 Housing and Utilities Adjustment                                  $0.00




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                                   Underlying Allowances
In re:   Troy Davis Smith                                        Case Number:
         Donna Lynn Smith                                        Chapter:     7


                            Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                         South Region
 Number of Vehicles Operated                                   2 or more
 Allowance                                                     $478.00
                            Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                         South Region
 Allowance (if entitled)                                       $182.00
 Amount Claimed                                                $0.00
                                   Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                         South Region
 Number of Vehicles with Ownership/Lease Expense               2 or more
                                                  First Car                                     Second Car
 Allowance                       $496.00                                      $496.00
 Minus Average Monthly
 Payment for Debts               $0.00                                        $0.00
 Secured by Vehicle

 Equals Net Ownership /
                                 $496.00                                      $496.00
 Lease Expense




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                                                        UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                 WACO DIVISION
                                                                                           §
IN RE:                                                                                     §
Troy Davis Smith
                                                                                           §               Case No.
Donna Lynn Smith
                                                                                           §
                                                                                           §
                                   Debtor(s)                                                               Chapter         7


                                DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                   PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.



        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
þ       I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
        I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
        chapter, and choose to proceed under chapter 7.



        [Only include if petitioner is a corporation, partnership or limited liability company] --
¨       I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
        schedules on behalf of the debtor in this case.




Date: 09/16/2010                              /s/ Troy Davis Smith                                                     /s/ Donna Lynn Smith
                                              Troy Davis Smith                                                         Donna Lynn Smith
                                              Debtor                                                                   Joint Debtor
                                              Soc. Sec. No. xxx-xx-6732                                                Soc. Sec. No. xxx-xx-4541

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.




Date: 09/16/2010                                                                          /s/ John A. Montez
                                                                                          John A. Montez, Attorney for Debtor
